 

Case 3:17-cv-02307-RDM Document 1 Filed 12/15/17 Page 1 of 51

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

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Christopher Alsop ™ SCRANTON
Plaintiff .

, pee 15 201 .
v. Case No: ;
. wa ie 5. 1162307
Federal Bureau of Prisons, etal PER UTY CLERK
Defendant “
BIVENS COMPLAINT
Comes now Christopher Alsop, pro’ se plaintiff, and for his Complaint pursuant to Bivens, seeking
injunctive relief for his medical issues, as follows:
1. “the plaintiff is a federal inmate currently housed at Allenwood Low Security Correctional
Institution in White Deer, PA, and who is legally deaf.
2. The defendants are the Federal Bureau of Prisons (BOP) and various unknown John Doe and
Jane Doe defendants whose identity will be provided to the Court through discovery.
3. The Court has jurisdiction over this matter under 28 USC 1331.
4. The complaint alleges deliberate indifference to the plaintiff's medical needs under the 8"
Amendment to the United States Constitution.
5. . The complaint is being made pursuant to Bivens v. Six Unknown Agents of Federal Bureau of
Narcotics, 403 US 388, 91 S.Ct. 1999 29 L.Ed. 2d 619 (1971).
FACTS
6. The plaintiff-has had varicose veins in his legs since 2005-2006. He is in constant pain when he
walks; the-plaintiff's varicose veins have grown worse since 2006. (See attached pictures)
7. On October 5, 2015, the piaintiff filed an Administrative Remedy (See attached} in an attempt to
formally resolve the issue with the BOP as allowed under BOP procedures. The plaintiff sought

to have the BOP close his valves and strip the affected veins because his blood is leaking outside

 
 

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of his valves and moving in two directions. The blood that is pooling in the plaintiff's legs can
lead toa variety of health problems including trophic ulcers, infections and blcod clot formation
if not treated. Itis an accepted medical fact that varicose veins respond well te treatment by
surgery. On October 11, 2017, the plaintiff went to the LSCI Allenwood Health Services and
_ advised Leonard Daniel, MD, that his legs are losing strength which had caused the plaintiff to
fall three different times. On November 6, 2017, the plaintiff lost the strength in his right leg and
collapsed during the evening meal in the Allenwood Low Dining Hall, and had to be carried out
by medical staff. During this incident, the plaintiff came into violent contact with the floor of the
Dining Hall and felt immediate pain in his feet, ankle, arms and head. The plaintiff was
transferred to Allenwood’s health care facility by the institution's emergency vehicle,
VISIT TO VASCULAR SURGEON SPECIALIST
Several times while in the custody of the BOP the plaintiff has been seen by a vascular surgeon
specialist about his varicose veins, and each time the surgeon has recommended that the
plaintiff have his veins stripped and his valves closed to stop the blood from leaking outside of
his valves. On January 15, 2015, the plaintiff was seen by Clinical Radiology in Oklahoma. On
‘November 9, 2015, the plaintiff was seen by PCC Surgery in Fort Worth, Texas. On or about
February 1, 2016, the plaintiff was seen by the Vascular and Vein Center in Fort Worth, Texas
and the plaintiff provided Ramesh Paladugu, MD, recommended vein stripping. (See Ramesh
' Paladugu’s report, page 4; attached hereto) On January 17, 2017, the plaintiff was seen by
Susquehanna Health of Willimsport, PA and there the vascular surgeon specialist, J. Franklin
Oaks, Jr. recommended vein stripping in his report.
In his report, Dr. Oaks stated “Alsop has failed conservative therapy and | would recommend a

radio frequency ablation of bilateral greater saphenous veins. Dr. Oaks reviewed in detail both

surgery and a post op plan of care within 24 hours of surgery when the plaintiff could return to

 
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all activities without restriction. Pictures were taken. (See attactied report) Based on the a

foregoing recommendations from medical specialists, the BOP Regional Director's decision
denying plaintiff's required medical treatment is a deliberate indifference under the Eighth |
Amendment. The 8OP and the BOP employees named herein have been made aware of an

excessive risk to Alsop’s health and safety, and knowing that excessive risk have chosen willfully

to disregard it. This conduct is per se instance of deliberate indifference to the Eighth

Amendment where the BOP is refusing critical medical care for a citizen they have held in
custody since 1998.

ADMINISTRATIVE REMEDY PROCESS
Plaintiff was incarcerated at Fort Worth Medical Center and his treating'physician, Dr. A. Baruti,
sent information to the BOP Region, recommending that the plaintiff receive surgery or
treatment from a vascular surgeon specialist to repair his vascular veins. Region denied this
recommendation. On January 13, 2016, the plaintiff filed an Administrative Remedy (BP-229} to -
the Warden in Fort Worth, Texas. On March 24, 2016, the plaintiff filed an Administrative
Remedy (BP-230) to the BOP Regional Director and on July 7, 2016, the plaintiff filed and
Administrative Remedy (BP-231)} to the BOP’s General Counsel at the BOP’s Main Office in
Washington, DC, completing the exhaustion of the Administrative Remedy process as required
under the Prison Litigation Reform Act (PLRA). (See attached) Since then no further remote care
has been provided to the plaintiff to relieve his very painful varicose veins and hig ankle which
also swells like a balloon asa collateral effect, with the exception of compression stockings
which aren't. very effective at reducing the pain and discomfort.

DELIBERATE INDIFFERENCE

Under the Eighth Amendment a prisoner has the right to be free from cruel and unusual

punishment and deliberate indifference by prison officials to a prisoner's serious medical needs.

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The delay or denial of such medical care is considered to be a denial of this Eighth Amendment
right. To demonstrate a claim of deliberate indifference under the Eighth Amendment a prisoner
must show that:

a} The defendant was deliberately indifferent to his or her medical needs.

b) That those needs were serious. (See Rouse v. Plantier, 182 F.3d 192, 197 (3d Cir 1999)

 

Deliberate Indifferent has been found where a prison official: .
' a) Knows of a prisoner’s need for medical treatment but intentionally refuses to provide it
b) Delays necessary medical treatment based on a non-medical reason
c) Prevents a prisoner from receiving needed or recommended treatment (Rouse, 182 F.3d
at 197)
The defendants were deliberately indifferent to the plaintiff's serious medical needs (the
treatment of his varicose veins) because of no significant level of care besides the compression
stockings have been provided to the plaintiff, the defendants have clear knowledge of the
plaintiff's serious condition and need for treatment but having decided to willfully ignore the
alaintif’s needs, (See Estelle v. Gamble, 429 US 97, 104 (1976). Deliberate indifference is
manifest where prison authorities deny reasonable requests for medical treatment and ‘such
denial exposes the inmate to undue suffering or the threat of tangible residual injury. (See
Farmer v. Brennan, 511 US 825, 837-38 (1994)).
. SERIOUS MEDICAL NEED

When the plaintiff walks his feet and lower extremities are in serious pain. The plaintiff has fully

“lost his strength in his legs several times as a result of this condition which has caused him to fall .

violently to the ground while trying to walk. Is the BOP waiting for the plaintiff to fall to the
ground and break his neck before they take any action to provide this critically needed medica!

care for him? (See Gutierrez v. Peters, 111 F.3d 1364 (7" Cir 1997). (Recognizing a serious

 
 

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! “

. medical need “where the condition significantly affects an individual’s daily activities” and
features chronic or substantial pain, The plaintiff cannot use his legs to exercise without
experiencing extreme pain, nor can he run or play sports to get his needed exercise. The plaintiff

has had high cholesterol for five years and must exercise to keep his cholesterol level down.

~ High cholesterol levels can lead to heart disease. The defendant's denial of this needed medical
care is also precluding the plaintiff from participating in various BOP prison programs which also
violates the plaintif’s rights under the’ American with Disabilities Act, 42 USC 1210. On October |
11, 2017, the plaintiff asked Leonard Daniel, MD, at LSCI Health Service, to supply him with a
cane since he has fallen a number of times due to his untreated condition, but Mr. Daniel denied
the plaintiff's very reasonable request. Also, the vascular surgeon specialist recommended that
the plaintiff receive medication for the pain in his foot and ankle but the BOP has also refused to
provide the plainti that medication for the pain. See J. Franklin Oaks, Jr. Recommendation
Report dated January 11, 2017 (Report attached) recommending Acetaminophen 325mg
capsule, Calcium Polycarbophy 625mg capsule, Docusate Sodium 100mg capsule and Ibuprofen
800mg tablet. Not only did the BOP and the defendants ignore the prior recommendation of the

vascular surgeon specialists to have the alaintift’s valves closed and his veins stripped, they have
ignored the vascular surgeon's recommendation list provided to supply the plaintiff with pain
medication to alleviate the pain being caused by not having his condition treated. Without the
pain medicaticn, the plaintiff is being forced to suffer excruciating pain in violation of his right to :

~. be free from cruel and unusual punishmént.

The plaintiff is suffering from varicose veins which isa serious medical condition because when

his veins bulge or become twisted as they do when someone has varicose veins, blood flow

through the veins can’become sluggish or slow and this can cause superficial blood clots known

"as superficial thrombophlebitis. From this stage there is a great risk that a OVP (deep vein

 
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thrombosis) might occur. DVT can lead to major health problems and in some cases be fatal. The
lack of proper treatment so far has now led the plaintiff to experience additional problems. For
example, in 2006 the plaintiff only had pain in his lower right leg, but now he has pain in his
lower left leg also. The plaintiff believes that the lack of treatment of his varicose veins may lead
to deep vein thrombosis (DVT) because of the BOP’s denial of medical care and its failure to
follow the vascular surgeon's recommendations to provide surgery to stop the blood from
pooling into his legs. This very critical surgery needs to be given to the plaintiff so that he is not

’ subjected to further falls and injuries as he has attested to in his complaint.’ (See Ramos v.
Lamm, 639 F.2d 559, 576 (10" Cir 1980) (Holding medical needs are serious when they cause
“continued and unnecessary pain and loss of teeth” resulting in delay in providing oral surgery.)
In this complaint, the plaintiff has demonstrated that the defendants are deliberately indifferent
to the plaintiff's serious medical needs in violation of his rights under the Eight Amendment to
the United States Constitution.

"RELIEF SOUGHT
As relief the plaintiff seeks an injunction from this Honorable Court ordering the BOP to

follow the vascular surgeon specialist, J. Franklin Oaks, Jr., from Susquehannah Health; Ramesh
Paladugu from the Vascular and Veins Center; and the plaintiff's treating physician, Baruit A.
from Fort Worth Medical Center, recommendation to repair the varicose-veins on both of the

plaintiff's legs via the appropriate surgical method.

 

* Plaintiff is having other circulation problems. When plaintiff ties down for one hour his blood stops flowing
properly through his upper body which causes him chest pains, headaches, cramps and both his arms fall asleep.

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| CONCLUSION
WHEREFORE, based on the foregoing, the plaintiff prays that the United States District Court
will order the BOP to repair the varicose veins in his legs, which if net repaired will result in
further injury to the plaintiff whereby the plaintiff will be forced to file_a subsequent suit for

compensatory and punitive damages against the defendants.

Respectfully Submitted,

Date: la- 12- 20l7 oo CLuritopha. Lire

Christopher Alsop #03078-064 :
LSCl Allenwood

P.O. Box 1000

White Deer, PA 17887

 
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| HEALTH

PATIENT.SERVICES -

os _.., Office Consult

_ | June 23, 2015 . o _ pel
Christopher Alsop 47 } year old M (02/21/1968) ‘Account *: 650000060066 A . 2) it

  

CARDIOLOGIST: Abdul M. Keylani, MD

REASONFORVISIT:. 5 - ho® |

This 47 year old male presénts for Freeform. .

“ HISTORY OF PRESENT LLLNESS: *
1. Freeform1 - wo
Pt is here from jail for pre-op, evaluation for vascular surgical intervention of his right leg varicose veins, he has severe -
swelling in his right leg despite wearing: and PA stockings, he has no ci rdiac i issues,.

. 2. general ;

~ He has had no chest discomfort suggestive of ischemia. ‘The patient d pnies orthopnea, PND, DOE, or edema. Mr. Alsop

has not had palpitations, syncope or near syncope. Mr. ‘alsop describes pain in lower extremities at rest. The patient has
no symptoms attributable to valvular heart disease. - . me

be

-- REVIEW OF SYMPTOMS: . :

CONST - Negative for weight’ gain, ‘weight loss, fever. EYES - “Negative for visual changes. ENT - Positive for oa
hearing loss. RESP - Negative for snoring, hemoptysis, dyspnea. CARD - Negative for chest pain, diaphoresis, LES
orthopnea, palpitation, syncope, PND. VASC - Negative for claudicatipn. Positive for edema. Gl - Negative for.

nausea, reflux, bleeding. GU.- Negative for hematuria, nocturia: REPROD - Negative for ‘erectile dysfunction. 7
ENDO - Negative for myalgia, goiter, tremors. NEURO - Negative for dizziness, memory Joss, seizures. PSYCH - 2
_ Negative for depression, hallucinations. DERM - Negative for erectile dysfunction, rash, skin sores. M/S - Negative

‘ for erectile dysfunction, joint pain, myalgia. HEMAT - Negative for acute anemia, thrombocytopenia, - .

 

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VITAL SIGNS -
HEIGHT sO Oe a
Time ft in am | Last Measured - - Height Position %
“B35AM. 5.0 ~ 8.00 172.72!) 04/29/2014,
: aan - ‘ ae ; \

WEIGHT/BSA/EMI a — : .
Time Ib oz” kg. Contest) GH BMI kg/m2 BSA m2 -

8:35 AM = 168.00 76.204 ». | 25.54 ~ 191

BLOOD PRESSURE SO

Alsop, Christopher — 650000060066 02/21/1968 06/23/2015 O8: 20 AM Page 1/3
CARD. docVisit_ final

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m4

 
 

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ORDERS:
_ Return office visit with ALBERT H YURVATI DO on Tuesday 06/23/2015.
_The patient was instructed on a low fat diet.
- The patient was instructed on a low sodium diet. .
"Instructions given to the patient on a low carbohydrate diet. °
“The importance of weight loss discussed with patient.

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Tinie‘ BPmm/Hg Position _— Side Site Method . Cuff Size
B35 AM 118/82 | : | : : 7

" -TEMPERATURE/PULSE/RESPIRATION

Time = TempF | TempC =~ Temp site Pulse/min. Pattern Resp/ min

ce a mo oo ss - a 16
MEASURED, BY ¢ “ fs
Time: Measured by BO
8:35 AM . Abdul M. Keylani, MD, RPV! .
SLEEPINESS SCORE: |
, PHYSICAL EXAM: :
Exam . Findings Details
Const © ; Neg . Level of Distress - Awake / Alert, Nourishment - Well Nourished.
7 : Appearance - Well Developed.
a Neck Neg _ * Inspection = Normat, Palpation - Normal. Thyroid «| No Masses. Neck
- a _ROM - Normal. JVP - Less Than 8,
Resp . Neg -'. Respirations - Nonlabored, Rales - Absent. Wheezes - Absent. Rhonchi
o ; . - Absent.
Cardiac © Neg Rhythm - Regular. Heart Sounds - $1 Normal, $2 Normal. Murmurs -
- oS None.
Cardiac +»  ~° |. Pos Palpation - PMI Not Paipable.
Vasco a "Neg Carotid - Bilateral Normal Pulse. Radial - Bilateral Normal Pulse.
_ Posterior Tibial - Bilateral Normal Pulse. Dorsalis Pedis - Bilateral Normal .
Puise, ' oh
EXT , _ Neg. Skin Temperature - Warm. Clubbing - Absent. ‘Cyanosis - Absent.

|. Upper Extremity Edema - Absent. Lower Extremity Edema -.Absent.

IMPRESSION AND PLAN

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"01. Pre-op chest exam: Pt is here for pre-op clearance and evaluation of severe right leg varicose veins,
He is low risk from cardiac stand point to undergo his surgery, as he is active without cardiac symptoms and his ECG

shows only nonspecific STT changes in [dl and F:

02. Varicose veins of both lower extremities: We will obtain surgical consultation, He has severe swelling and discomfort.

The patient was'given exercise guidelines. tas
The patient was instructed on stress reduction. = 4
The importance of medication compliance was discussed with the patient

"+ Retum office visit with Abdul M M Keylani Mo as needed.

Alsop, Christopher 650000060066 ozpaiiee 06/23/2015 08:20 AM Page: 2/3

CARD. docVisit. final

 
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Electronically signed by: “Abdul M: Keylani, MD, RPVI 06/23/2015 @ 8:44 AM

Documenit generated by: Abdul M. Keylani, MD, RPVI 06/23/2015

 

 

: Alsop, Christopher 650000060066 02/21/1968 06/23/2015 08:20 AM Page: 3/3
CARD docVisit_ final . - " : . .

*

 

 
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-. Bureau of Prisons

 

. ¥
Health Services  -— . a
Cosign/Review SO
Inmate Name: ALSOP,CHRISTOPHER ~. _ "Reg #: —-03078-061" -
Date of Birth: -° 02/21/1968 =. , Sex: Mo "Race: «BLACK
. Scanned Date: 06/26/2015 14:25 Do Facility: . FTW °

 

- Reviewed by Baruti, A. MD on 07/09/2015 15:56.

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Bureau of Prisons - FTW

 
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-UNT) HEALTH

This 47 year old male presents for painful varicose veins and Venous Dz.’ ”,

Patient’ © 0) - Christopher Alsop - . 7 et .

‘Date of Birth: ~ 02/21/1968 _ on Ho ; ey

“Age/Sex: 47/Male. . ()
‘Date: - . — “November 9, 2015 ' , de Oo?

Historian: = inmate | - : . WV - |
Visit Type: ' 2 Office Visit’

Provider: ALBERT H. YURVATI DO

*

-

History of Present Illness:
1, painful varicose veins
2, Venous Dz

. The patient presents with varicose veins. The symptoms are located ir in the right ankle and rie, The patient's CEAP classification i is 4 -
Skin pigmentation in the gaiter area, The etiology ‘of the patient's venous disease is secondary. The venous disease is in the
superficial veins. The patient's venous pathophysiology js reflux.and obstruction. The patient complains. of aching/pain of extremity,
adverse affects of ADLs, fatigue, skin discoloration and swelling. The patient has been treated with the following blood thinners:
aspirin. The symptoms worsen with prolonged standing, The symptoms ; are relieved by none. The patient has the following risk

factors for venous disease: history of phlebitis,

Nursing Comments:
Intake Comments: Pt ( BILATERAL HEARING Loss/ READS Lips )here with prison guard. Pt staters he has

varicose veins on the right leg and they swelling Up.. Duration approx: 8 years. Pt states when he walks for a long
_ time'they start to hurt. Pt sales he does elevate his legs but just simply Staying off it the pain goes away. No other

complaints as of today. JMathis, MA

Problem List:
Problem Description Onset Date “Chronic Notes -
Varicose veins of lower 11/09/2015 : .

extremity with pain

PAST MEDICAL/SURGICAL HISTORY (Detailed) =

: Disease/disordes ' - Onset Date Management. . ..» Date -. | comment2
vO ‘stomach surgery- 20 JLM 11/09/2015 -

years ago
Family History (Detailed) a . oe 7
SOCIAL HISTORY (Detailed) - oo
Tobacco use reviewed. |

Alsop, Christopher 650000060066 02/21/1968 11/09/2015 08:30.AM Page: 1/4

sur_master final .

 

 

 
 

 

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'

The patient does not need an interpreter.

_ Medication Reconciliation
Medications reconciled today.
Medication Reviewed |
Adherence ~ Medication Name ~

taking as directed atorvastatin 20 mg tablet

Allergies:
No known allergies.
Ingredient Reaction -<
NO KNOWN
ALLERGIES
Reviewed, no changes.
“REVIEW OF SYSTEMS
System Neg/Pos
Cardio Positive
‘Constitutional Negative
Allergicfimmuno . Negative
Cardio - . -. Negative
Neuro Negative -
Integumentary. Negative
~ Hema/tymph Negative
Eyes ‘Negative *
-ENMT Negative -
Psych, Negative
Reproductive: Negative
GU Negative
Gl Negative
Respiratory Negative -
Ms Negative |
VITAL SIGNS
HEIGHT .
Time” ft in. -cm
9:32AM 5.0 8.00 172.72
WEIGHT/BSA/BMI
Time ._ |b oz kg
9:32 AM 170.00 77 4i1

BLOOD PRESSURE -

Alsop, Christopher
sur_master_ final

on

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so

’ Elsewhere Status
Y _ Verified

Sig Desc
take i tablet by oral route every day

Medication Name Comment

Details

Edema, R leg pain.
Chills, fatigue, fever, malaise, night sweats, weight gain and weight loss.’
Contact, allergy, environmental allergies, food allergies and seasonal

- allergies.

Chest pain, claudication and irregular heartbeat/palpitations.

. Dizziness, extremity weakness,: gait disturbance, headache, memory
" impairment, numbness in extremity, seizures and tremors.

Brittle hair, brittle nails, change in’ shape/size of mole(s), hair loss,
hirsutism, hives, pruritus, rash and skin lesion.

Easy bleeding, easy bruising and lymphadenopathy.

Eye discharge, eye pain and vision changes, |

Ear drainage, hearing loss, nasal Grainage, otaigia, sinus pressure and
sore throat. :
Anxiety, depression and insomnia. |
Penile discharge.and sexual dystunction.
Dribbling, dysuria, erectile dysfunction, hematuria, polyuria, slow stream; ‘

‘urinary frequency, urinary incontinence and urinary retention.

Abdominal pain, blood in: stool, change in stool pattern, constipation,
decreased appetite, diarrhea, héartburn, nausea and vomiting.

Chronic cough, cough, dyspnea; known, TB exposure and wheezing.

Back pain, joint.pain, joint swelling, muscle weakness and neck pain,

Last Measured Height Position .%.
11/09/2015 — .
Context % BML-kg/m2 - BSAm2

25.85

650000060066 02/21/1968 11/09/2015 08:30 AM Page: 2/4

 
 

 

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Time’ BP mm/Hg Position Side. «Site. «==S*«Methods «Ss Cut Size
‘9:32AM = 118/62 I

oars

TEMPERATURE/PULSE/RESPIRATION

‘Time .TempF | Tempe TempSite Pulse/min Pattern =. ©. Resp/min
9:32AM 97.4 | 36.3 2 BB , — ‘ 18:
PAIN SCALE, . oO oo .
Time Pain Score Method a '. * HAQ Score
9:32AM 6/10 Numeric Pain Intensity Scale : ss
, , \ r
~ MEASURED BY |
Time = Measured by

"9:32 AM — Janecia L, Mathis
Physical Exam: oo
Exam Findings Details.

Constitutional - Normal — .Well developed,

Eyes’ . _ Normal, - Conjunctiva - Right: Normal, Left: Normal.

" Ears ‘ Normal Inspection - Right: Normal, Left: Normal,

Neck Exam: ; Normal. Inspection - Normal.

Respiratory , Normal“ Auscultation - Normal. Effort’- Normal,

Cardiovascular . Normal Regular rate and rhythm. No murmurs, gallops, of rubs..

Vascular * Severity: severe, Location: right, lower, ankle
Vascular - . Comments sever'r vw large venous lake .@r ankle ,
Vascular . Normat Pulses - Carotids: Normal, Femoral: Normal, Dorialis pedis: Normal,

. ; > Posterior tibial: Normal. Bruits - Carotids: Absent. °
Abdomen '. Normal Inspection - Normal. No‘abdominal tenderness. No hepatic enlargement.
Musculoskeletal Normal © Visual overview of all four extremities is normal.

Diabetic Foot Screen '* Normal Pulses - Dorsalis pedis: Normal, Posterior tibial: Normal.
Neurological .Normal Memory - Normial., ' .
Psychiatric , Normal ° “Orientation - Oriented to time, place, person & situation. Appropriate

“ a mood and affect. os

Completed Orders {this encounter). . . -

Order Details . *. * Reason Side Interpretation Result “- Initial Region
Te, _, Treatment

. . So, . ‘Date

EDUCATED oo

RLE So ,

VENOUS US - : wo . oo

WREFLUX - Lo os |

_ STUDY: WV. | a . _ oa .

‘SURGERY * 7 oo i ,

Assessment/Plan 9 = «  : - fe ta
- #. Detail Type- Description . 7 ,
1. Assessment Varicose veins of lower extremity with p pain (183.819).
Plan Orders | Today: s. instructions /. counseling, include(s) EDUCATED, RLE VENOUS US W REFLUX

Alsop, Christopher 650000060066 02/21/1968 11/09/2015 08:30 AM Page: 3/4
‘sur_master_final . . , ‘ . ,

 
 

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“STUDY: W. VE and SURGERY.

 

Medications: _ oo. . .

Brand ow Dose . Instructions > + Rx by Other
co eT ‘Provider -

ATORVASTATIN 20mg ~ take 1 tablet by oral route every day

CALCIUM : / ao / . -,

Provider: ALBERT H, YURVATI DO 11/09/2015 10:14AM oe
Document generated by: Albert H. Yurvati, DO 11/09/2015 10: 14 AM |

": Visit submitted and electronically signed by: Albert H. Yurvati DO on 1709/2018.

Ec Providers: os

ALBERT H. YURVATI DO ‘

PCC Surgery mo

Phone (817}735-5450 .

855 Montgomery St, Sth Floor North ee
" fort Worth, TX 761072553: So

Alsop, Christopher. 650000060066 02/21/1968 11/09/2025 08:30 AM Page: 4/4
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Bureau of Prisons |
Health Services
‘Cosign/Review

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Inmate Name: ALSOP, CHRISTOPHER
Date of Birth: — 02/21/1968 ~~ Sex: M
Scanned Date: 11/10/2015 15:52

Reg #: 03078-061
Race: BLACK
Facility; FTW

 

Reviewed by Baruti, A. MD on 11/27/2015 14:59.

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Bureau of Prisons - FTW

 
 

 

 

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22/2076 Vis20 AM FROM: Fax VASCULAR AND VECN CENTER, PA TO: @i7-f¢7-3596 PAGE: O02 OF OE

_ Summary View for ALSOP, CHRISTOPHER . - ~. Page | of 4
oso7 oe | , : . _ History/Physical/ Progress Note
naire Montereure , , . -¢ ‘ a, Provider; Ramesh Paladugu, MD
OOB, O2/21/1968 Age: 4? ¥ Sen: Male . . : 4 Bate: 62/01/2016

Phone: 617-547-9531 :
Addeqec: 1412 MAY ST, FORT WOATH, TX-76104
Subjective: ' : , a , : .
*  Chhel Complaints: . . .
i, Symptomatc Varicose Veins,

MPI . '
Yenous Oisease: . : ” : : i

Mr. Christopher Alsop ts a 47 year old male patient referred oy Or. Nacem Mohammad (UNT Health Science Center} for evaluation of
symptomatic varicose veins. Patient ts a federal ummeate at UNT and has been accompanied by a prison guard for this visit. _

(A) Varicose veing: Patient complains varicose veins in both the lower extremities, more dense on the right teg lower extremity,
Patient frst noted them aboul 12 years ago and the varicosities had been Increasing In number and size since then, Patlent has spider
veins and retkular veins, .

(B} Leg symptoms: Patient has history of swollen, heavy and achy tegs, leg cramps and leg tiredness and discomfort, The symptoms
began sbout 2 years ago in both the legs, the right being worse. The symptoms have begun to get worse since the last couple of months.
Tha symptoms are prasent all day and are exacerbated by prolonged stending, sitting of hot weather, The symptoms are minimally .
feteved by leg elevation. Patient has history of skin pigmentation, redness, hardening of skin, ,

Conditions associated with FLUID RETENTION: ho :

Patient HAS history of ver dysfunction. ‘ .

Patient CENIES history of hypertension, - . w

Patient DENIES history of congestive heart lalure.

Patient DENIES history of valvular heart disease.

Patent GENTIES history of puimonary hypertension,

Patent DENIES history of Kidney dysfuncton, : ,

. Patlent DENIES history of thyroid dysfunction. .

_ (©) Ukker: Dentes history of chronic, non-heakng ulcers on the legs in the past, Patient denies history of leg Infection, Patlentdentes
bleeding from ulcers.

Patient denles history of active or healed lower extremity ulcers.

(OD) Bleeding from superfklal veins: Patient denies histary of bleeding from superficial teg veins.

{€}] Deep Venous Thrombosis (OVT)/Pulmonary Embolism (PE}/Post thrombotic syndrome (PTS): Patient denies history of Ocep Veln
Thrombosis (OVT)/Pulmenary Emboitsm (PE}. Patient dentes a history of OVT/PE. Patient dentes Inferior Vena Cave (IVC) filter placement
or chronk anticoagulation (Plavix, Coumadinfwartartn, and Lovenox), Centes histery of Deep Vein Thrombosis (OVT} or Infertor Verne | .
Cava (IVC) fitter placement or anticoagulation or cances of chemotherapy oF 3 major medical illness with prolonged immodilization.

. Yerous Thrombe Emboltem (VTE) risk factors: grolonged Immobiation, major trauma, major surgeries, cancer/chemo therapy, .
catheter Induced thrombus formation, thrombophilia (Protein C& S deficiency, antithrombin deliciency, Factor ¥V Leiden mutation), herbal
medkations Intake. fo os .

{F) Other vascular diseases: Patient denies history of PAD, lymphedema, vascular matformattons, hemorrholds, vasculttis such as
sheumatok arthritis, systemic tupus erythematosus (SLE), Wegener's granulomatosis, scleroderma. Patient denies history of cirrhosts /
portel hypertension. :

{G) Chronic conditions: Patient denies medical conditions assoculed with increased intra-abdominal pressure, such as chronk cough,
constipation, urinary fetention, morbid obesity, intra-abdominal masses EuUCH @s Concer. Pathent denles/has skin cancer of the teqs.

(H) Leg trauma/surgeres: Patient denies history of feg trauma and surgeries,

(t} Previous veln treatments: Patient denies history of vein stripping, ablative vein procedures, sclerotharapy, and stab
phiebectomies. . . : . .

(2) Family history: Patent has denies famity history of varicose veins or, Deep vein thrombotts (OvT)

{K} Superticiad thrombephlebitis: Patient denies, -

(L) Use of Graduated Compression Stockings (GCS): Patient has history of compression stockings use. Had been using the
compression stockings since 2014. , . :

(M) Rormanes; Gentes history of hormonal replacement. :

(N) Varicocele [Male patients): Patient denies history of varicocele. [Scrotal swetting essociated wilh pain/discomfon exacerbated
wRh standing and towards the end of the day; diminishes upon tying down].

{O) Occupational history/Sym ptomatic tailuence on everyday Ufe style; Patient (s currently incarcerated: pattent’s previous profession
a3 a phone sales man required prolonged periods of standing or sitting. to. . oo Taye

Symptoms interfere with everyday acthitles such as driving, standing, siting at work place, shopping, showering, playlag with
Qrandchildren, house hold work, shoes getting tighter towards the and of the day, unable to wear shoes, having to weer sandals instead.
The symploms have been causing social issues creating difficulties in averyday activitles such as - avokl going to places where the patient
needs to stay standing, cancel activites end stay home, avokd wearing clothes exposing legs, svald going on vatatlon to very warm .
blaces, taking the off work.

(P) Smoking history; Patient Is nota current smoker, patient never smoke. .

(Q) lodine & Iv Contrast dye allergy, Kidney function: Oenies any history of ellergy to fodine of IV contrast dye. Patlenl has no
history of kidney dystuaction, ' ,

r

{R). Migraine: Patient denies migraine with or without aura, . :

ones Patent Foramen Ovale (PFO), other Entra cardiac defects and Paradoxical embolic stroke: Patient denies,

erg. . .

Patient currenth takes no blood thinners .

Patient has a Atstory of Hyperlipidemia.

Patient has no history of Diabetes, Hypertension, Coronary artery disease, coronary artery stenting, Congestive heart
failure, Atrial Fibritation, Pacemaker/ICD placement, Intracardiac defects - ASO or VSO or PFO or endocardial cushion
defects, Valvular heart disease/hcart valve replacement, COPD, Obstructive Sieep Apnea, Supplemental oxygen use/CPAP,~
OVT/ PE/ IVC filter placement, Kidney problems, Stroke, Carotid stenosis; Aortic Aneurysm, PAD, Previous arterial

e

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: ‘ a
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_ Case 3:17-cv-02307-RDM . Document 1 Filed 12/15/17 Page 18 of 51.

Ee 305016 LE 20 AM FROM: Fax VAEC:LAR AKT VEIN CENTER, PA Tor: €37-347-9h94 FAGE: 003 OF OCS

Summary View for ALSOP, CHRISTOPHER De Page 2 of 4

procedures $uch as bypasses, open or percutaneous interventions, Limb amputations, Previous vein procedures,
1 +. Patient exerches everyday. : . :
Fobacco.use status: never used tobacco products. - ‘
O31 : . - . '
Ressira tory : .
no Shortness of breath. Mo Asthma. nO Preymonia, mo Chronke bronchitis.
AO night sweats, Ao loss of appetite. no fever, :
EENT: ‘ .

nO cold, NO cough. NO sore throat. AO sinusitis... .

AO rash. nO moles. AO tumps.
- Cardiology:

NO syncope. NO shortness of breath. no chest pain, no pelpitations,
Gastrognterciogy:

nO nausea, ne heartburn. no change In bowel habits,

ne point stiffness. no joint pilin, oo sciatica. mo fracture,

ho langues AO excessive Sweating. nm potydipsia, no weight loss. no cold Intolerence, :
-Heurology: ~ :
ne Diplople. no headache. no selures. 40 Insomnia. no diziiness,
. ~ ' AO epstarts, nO easy bleeding, ‘no drulting. te .
mo Gsotourinary: / . : : 7
. Dysurta negative. hematuria negative. no Distysis.'  - : .

History negative.

Medical Mstory: Symptomatk Varicose Veins, Hyperlipidemia, Laukocytopenta.
Surgical Wistery: Liver surgery age 5. ‘ .
Hospitalizratloa/ Major Diagnostic Procedure: Dentes Past Hospitattration.

family History: Father: deceased, dlagnosed with Other specttied conditions Influencing health SlatusMother: allve, AgthinaSiplings:
. . all¥¢, diagnosed with Other specified conditions Influencing health statusidaughter(s) - healthy. ” . -
Soctel History: . oo ,
Recreational drug use: Oentes, . :
Uses walker/cane: No. . - . "
Wheel Chalr Dependence: No. . 2 - .
Reswence status: Inmate. ‘ vos : + : ,
Tobacco Uce i . ‘ , .
are you a smoker: never smoker to ‘ .
Alcohol use: Denres, ‘ “

’

Hedkathoae: Taking Atorvasiann Cakwm 20 MG Tabet 1 tablet Once a.day, Med«ation List reviewed and reconciied with the patient
Allergbhes: 4.0.4,

. «Objective:

Whee: PSO", WE 70, BMI 25.85, BP--- 109/7 SLUA; 123/92RUA: HR. 61, RR - 18, oz Saturation(%) - 97,
Puysical Ba ripation . ‘
Mepearance: normal, nat distressed, alert, awake, ‘oriented,
VYasculr Exam:
1 Carotid No neck scars and no carotid bruit heard.
Pacemakers/ICO None. - :
Abdomen No gulsalile mass or bruit. ' . ss
AV graft None. so a ,
. ' AV Iistula None,
\ / Aagal +2 Bilaterally,
. Femoral +2 Gilaterally.
Porterlor tibial +2 Bilaterally.
Dorsals padis Both feet warm +2 Left +1 Rightiweek}.
: , Varkose Velng Varicosilies in GSV and SSV territories right more than left, Corona phiebectatica Present and is suggestive
. of chronic venous insufficiency right sida more than left,
Figmentstion Bilateral LE: consistent with venous stasis Diffuse- More than lower 1/3 of the leg.
Wound/uleer ‘None:
: * Trophic changes Bilateral LE: Oystrophic nalls Ory, scaly skin,
1 Edema Circumferential! measurements trches) on + 2/1/2016 at 3: OOpmAbove ankle (inches): 10 1/2" (RT) & 9°(LT)

Proximal call (inches):13 1/2" (RT) & 13 1/2 (LT)Mid thigh (inches): 24° (RT) &'147 (LT) Right LE: More than lower 1/3 of
leg with pain verbalized. . .

: Swelling Both tegs, None present, ‘ .
. - AMmpulaton None. .
Hands Hand Grips: Bilateral 5/5,

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Case 3:17-cv-02307-RDM. Document 1 Filed 12/15/,7 Page 19 of 51

* 7 et ke

zf3e20%6 1: 20 AM OFROMY Fax VASTVLAR AND VEIN CENTER, TA TG: @ET-S47-955€ 9 PAGES DO4 AF 005 |

Summary View for ALSOP, CHRISTOPHER a . Page 3of4 |

eos
f.

: “CEAP Chica Grade
Right . Clinical Grade ‘ . eft
' ICO: no visible or palpable signs of venous disease ' °
Ci: telangiectasies or reticular veins

 

 

 

 

 

 

 

2 1+ 2: varicose veins

‘3 Ca: edema . - ote \ /

4a C4a: pigmentation or eczema. C4a .
en . 4b; lipodermatosclerosis or atrophie blanche

 

1 . C5: healed venous ulcer '
: * (C6: active venous ulcer
: rsymptomatic, including ache, pain, vighness” skin irpstation, heaviness,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f . land muscle cramps, and other complaints attobutable to venous
{ ' dysfunction. A: Asymptomatic - *
: . . t. a
C2.3,40,5 - oy ; : 7 me, . C2,4a
f ¥CSS Altributes & Score
ig hiVenous Clinical Severity Score (¥C5S) ” ete
3 Pain/ Other discomfort: (0) =Absent (1) =Mild/Occasional (2)= oderote/ Day ‘interferes with, but doesnot 1
imit activity (3)= Severe/Daily, limitation of activity oan
2 Varicose velna(= of >3 mm in standing}: (0)= Absent (1)= M:ld/Few- scattered {isolated VV branches or \
Klusters, Corona Phiebectatica) (2) = Moderate/Muttiple - Calf or Thigh (3) * Severe/Extensiva - Calf & Thigh
i 3 Venous edema: (O)= Absent (L)= Mild/Limited to Foot & Ankle (2}= Maderate/Extends Ankle to Knee (3) = .
i 0
f Severe/Extends to Knee and above
3 Pigmentstion: (0)= Absent (1) Mild/Limited to Perimalleoiar (2)= moderate/Diltuse -Lower M3 of Calf (3) 1
= Severe/Wider-Above Lower 1/3 of Calf
o inflammation (Erythema, Callulitis, Dermatitis, Eczame): (0}@ Absent (1) = Mild/Limited to Perimalleolar ol
(2) = Moderate/Ollfuse --Lower 1/3 of Cal! (3) =Severe/Wider-Above Lower 1/3 of Calf ,
0 Enduration (Lipodarmatosclerosis, Atrophie Blanche): (0)= Absent (1)= Mild/Limited to Perimalieolar (j= 0
i oderate/Oiffuse - Lower 1/3 of Calf (3) = Severe/Wider- ~Above Lower 1/3 of Calf
| O\active ulcer number: (0) (1) (2) (3)
Active ulcer duration (longest active): (O}=N/A (i) = Mitd/. < 3 Months (2)= Moderate/ 3 Months to i Year Q
K3)}= Severe/ > 1 Year.
0 ctive ulcer size (lergest activa}; (0) <NJA (1) Mild/ < 2cm diameter (2) Moderate/ 2-6cm diameter (3)- o
7 evere/ > &cm diameter :
[ 7 (Comeresaion Therepy: (0) Not used (i}= PiigjTatertaltent Use (2) =Maderate/Most Days (3) = Severe/Full -3
kompliance 2"
ij ffotal VCSS - : 1 ~ . : _ 16
HEENT: . : . 4 :
_ Head: normal. ‘ Sor, wo :

Pupits: PERLA: - oot . : .
Sclera: anictenc. ae . i
Eom: intact, _ roe . Ts ‘

Drat cavity: normal. vo tae .
Neck: . , ae

Heck: Supple, non tender, Re . 7,

ROM: normal, ' . “oy

Neck lesion: No palpable masses. .
tean:

Raythm: regular.

Heart souncs: S1, $2 heard, oo , ‘

Chast: Jo
Shape and expansion: normal, 7 Oo . . “*
Breath sounds: clear bilaterally. 7 —
‘Palpation Soft, non-tender, non-distended. “

Auscultation Bowsl sounds heard.

Masses: No palpable masses, — . "+

 

Spine: 09 tenderness. , . .
Gxbremities: . . a
Tremart: none. . ' .
Clubbing: none, |
Cyanosts: none,

Hewtological:

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Case 3:17-cv-02307-RDM Document 1 Filed 12/15/17' Page’20 of 51, ,

es 442616 11:20 AM FROM: Fax VASCULAR AND YEIN CENTER, PA TO: 617-547-3596". FAGE: 004 OF OCS

+

Summary View for ALSOP, CHRISTOPHER . — Page 4 of 4
_ Diabetic Foot Exam , . oy : i
Visual exam of foot pertormed: Yes. ' , oo : :
Sensory; Able to feel sensation to touch and painful stimull , ' 4
__ Meter: Good and equal strength in the supper and lower extremities, ‘bilateralty. ..
" Remmataiooy: - .
“ Vascular malformation: none visible. _ . : my
c Skin; warm to touch, . , . , -
_Herna No. ' . y
4 , . ‘
. . . - . . , a moe ’ - is cae ‘
’ Assessment: 2 . ;
Assessment: oe

1. Chronic venous hypertension (tdiopathic) with taflaramoation of right lower extremity - 167. 32 (Primary)
2. Chronk venous hypertension (idiopathic) with other complications at teft lower extremity - 187. 39
3 Hyperitpidemu, unspecihed : - E78.5 : an

co ‘Plan: -

+4, Chronle venous. bypertension (1dto pathic) with laflemmation of right bower extremity

* MOkeS! 2, Recommend ABI abnormal pulses noted on exam. AB! results are Ri 4.34 and L: 1.25 with normal wayelosms noted.
2. Reviewed the patient venous US with reflux noted in the bilateral GSV and Right SSV with intersephenous reflux noted on the reght
also. Recommend Veln Stripping/RFA as treatment

, 2. Patient was to have a fotlow with Or Yurvatl trom his LL/2015 consult after imaging. We will send reports of US with notes irom today
to the patient primary providers.
4, PLEASE REF THE PATIENT BACK TO DR YURVATT FOR HIS FOLLOW. YP-AS PREVIOUSLY INSTRUCTED 14/2015 POST ULTRASOUNDS.
5. No lolow up recommended here due lo patient already under the care of a vascular surgeon(Dr. Yurvatl).

2. Others

Notes: 1, Keep legs elevated above the heart.while in bed or sitting as tolerated. Take breaks suring day thme ta clevate the legs as°
tolerated,

2, Wear graduated compression stockings (20-30mm Hg} during day time - Instructions for use have, been given, .
Z. Exercise In the form of walking. Calf muscie exercises & ankle Nexions at regular intervats during dey time. Avold long hours of
immobilization Inctuding foag- hours of sitting or standing without call musche activaty.

4. Maintain appropriate weight. - . .

5. Educational resources provided, ' . . * 1 ,

Photos of the bilateral tower extremities have, been takea on 2/1/16. ‘ . 7 : . .

Imaging! -

US BIL LE Venous: h/o Symptomatic varkose veins, fight worse than left

. US BIL LE ABI: H/o verocese veins os .
Procedure Codes: G8427 DOC MEDS VERIFIED W/PT OR RE, 1036F TOBACCO NON-USER-

Follow Up; Follow up with OF Yurvath

Providert Ramesh Paladugu, MD: oe ‘ ' yous . ?
Paticnt: ALSOP, CHRISTOPHER DOB: 02/21/1989 Bate: a2yo1/20%6

“

Electronically slpned by RAMESH Palapu GU;MD os ©2/03/ 2016 at 11:18 AM CST Tra

Sign olf status: Pending . oa . . oo. ~

Ty,

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. Casé 3:17-cv-02307-RDM .Document 1 Filed 12/15/17

Bureau of Prisons
Health Services

. Cosign/Review

Page 21 of 51

 

Inmate Name: - ALSOP, CHRISTOPHER. -
‘Date of Birth: 02/21/1968 Sex: M
Scanned Date: . 02/03/2016 15:28 .

.. Reg#: 03078-0681

Race: : BLACK
Facility: . FW

 

_, Reviewed by Tubera, Butch MD, CD on 02/03/2016 15:01. -

Bureau of Prisons - FTW

 
“Case 3:17-cv-02307-RDM ‘Document 1 Filed 1 2¢¢5++7}—Pegen2ceetpiaidenaceensmemnnnss

C . .
NOV 14-2016 MON 11:02 AM = HEART & VASC. CLINIC FAX Mo. 324-9358 —_ P0083
uownoomapes 9 3018 Bal
J. Franklin Oaks Jr, D.O., MHA FACOS apis co ,
SPs Vasque surg 4..~ Susquehanna Health
740 High St Suite 2001 ne - OC

Williamsport, PA 177013102
Phone: (670)321-2805 Fax: (570)321-2806

History & Physical ..- |

 

 

Patient: - Chrispher Alsop

Date of Birth: 02/21/1968

Date: 11/08/2016 02:42 PM
Visit Type: = New Patient

Account #: 1245452 ,
‘Soarian Enc#: = No Soarian Encounter ID.

‘

 

 

REASON FOR VISIT:
. This 48 year old male presents for Bilateral LE varicose veins. and generai.

' CHIEF COMPLAINT: Bilateral LE varicose vains. ; general
_ HISTORY OF PRESENT ILLNESS:
1. Bilateral LE varicose veins, - oo . .

Chris is referred for symptomatic varicose veins bilateral lower extremities. He was evaluated at an outside facility for
Symptomatic varicose veins. No ultrasound raport was available. He has worn compression stockings of a moderate grade
for 10 years. He denies any history of DVT, trauma, or phlebitis. He does have a significant hearing loss.

2. general -

He has had no chest discomfort Suggestive of ischemia. The patient denies orthopnea, PND, DOE, or edema, Mr. Alsop
has not had palpitations, syncope of near syncope. He denies claudication. There is no discoloration or ulceration of the
lower extremities. He has had no TIA or stroke-like symptoms. The patient has no symptoms attributable to valvular heart
disease, - a ;

CURRENT MEDICATIONS
ALLERGIES/INTOLERANCES: fee ce gem menage pe

Ingredient’ —©—-RReaction’ ©“ Medication'Name Cominient "200-0 Be Za wood.
NO KNOWN , ' FCC Allenwoc
ALLERGIES: NOV 1.6 2016
NoneNO KNOWN ALLERGIES .
PAST MEDICAL/SURGICAL HISTORY (Reviewed, updated}
‘Disease/disorder " Onset Date - Management , . Date: Commenis.

. ° mo Bowel resection

. Liver surgery age 5
Hemorrhoids . , . oo,
Significant haaring loss-uses - ; rn ‘;

Alsop, Chrispher 1245452 02/22/1968 11/08/2016'02:42 PM Page: 1/4

 

 
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ase 3: 17- -CV- 02307- RDM Document 1 Filed j 22/45/42 Rage 2o-ebSe een

NOV-14- 2016 i HM: 02 AM “HEART & VASC. CLINIC | . FAX We.

“ON : , a . . 3
’ hearing aid . “ . ae oes
Varicose veins bilateral LE. . :
FAMILY HISTORY (Reviewed, ipdated)
Patient reports there.is no > relevarrt family history.

SOCIAL HISTORY Reviewed updated)
Tobacco use reviewed. .
Preferred language is English. .

~ MARITAL ST. ATUS/FAMILY/SOCAL SUPPORT

Currently unknown,

Smoking status: Never smoker. NOV 16 2016
SMOKING STATUS © ee ere
* Use Status. , : Type... arty Smoking: Status’. | Usage Per Day ..- Reviewed, Peg
no/never oo | Neversmoker * 11/08/2016 d242 PM
REVIEW OF SYSTEMS a
System Reviewed: Review Result : Review" Findings ||
Const. Neg Activity Change, Weakness, Weight Gain, Weight Loss
Eyes Neg Visual Changes, Transient Visual Loss, Double Vision
Derm Neg | _ Hyperpigmentation, Blisters, Skin Sores
Hemat - Neg Easy Bleeding, Easy Bruising: -
Resp , ‘Neg . "Wheezing, Hemoptysis, Dyspnea
GU. Neg; _. Hematuria
Psych’ / Neg © . _ Altered Mental Status °
Neuro, Neg ~ Facial Droop, Fainting, Speech Changes, Slurred Speech, Paralysis, :
Do , ~ Dizziness, Seizures
M/S © Neg , ~ Muscle Weakness, Back Pain
Endo; Neg Cold Intolerance, Heat Intolerance
Vasc Neg . _ + Pain, Ulcer, Claudication, Edema
Vasc Pos Varicose Veins, Leg Swelling
Card Neg Near Syncope, Palpitation, Syncope, Chest Pressure
Card . ‘Pos - Chest Pain
GI , Pos” - ‘Hemorrhoids
Gq Neg “Constipation, Diarrhea, Hematochezia, Abdominal Mass
ENT Neg Change in Voice
- ENT | | Pas - . “Hearing toss ,
:VITALSIGNS -
HEIGHT - . Be
Time 7 ft 2 ino crn. -Last' Measured Helght Position’ - 2% we
2:46PM > 5.0 850° 173. 99° 11/08/2016 - 5
. WEIGHT/8SA/BMI . , ne : _. . 7 Le
i ee oe <1 Sr “BMT kg/m2 BSA.
246PM 178.00 80.739 pS 26.67 .

Alsop, Chrispher 1245452 02/21/1968 11/08/2016 02:42 PM Page: 2/4

oo

921 3353 OO .P. 004

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.B. Zalno; PA-C.
FCC Allenwood

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Case 3:17-cv-02307-RDM Document 1 + Filed: 12/4547} —Page24-0}-6imensnnenesines

NOV-44-2018 MON 14:02 AM. HEART & VASC. CLINIC (2) FAX No. 824 3358 ; P0058
BLOOD PRESSURE fo . ee . yo 7 oe
Time. 8Pmm/Hg... Position... Side.: Site... Method _ “elie en cate SASH
2:52PM 100/52 _ Sitting eft arm manual . adult
2:46PM 102/56 = SItting.w right =: ann .- manual "adult
TEMPERATURE/PULSEVRESPIRATION oo eeponpes oe
‘Time “Temp Fo Temp.C” “Temp site” Bulie/min’ Pattern 0. Resp/min
2:46 PM mo 6B 18 Ved
MEASURED BY | .. Steg oetred—
_iTime Measured by | nas rn 2
2:52PM Leslie M. Swartz se , oe *, 7+ . B, Zaino, PA-C
2:46PM .LesiaM. Swartz = BC ~ +» FCC Allenwood ,
PHYSICAL EXAM: es NOV 16 2016
‘Exam ' , Findings - Details _ Coe, _. oe “
Const " Neg ___Level of ‘Distress - Awake / Alert. A pearance - Well Developed, Age
. - Appropriate. oO .
Const’ "Pos. ‘Nourlshment - Obese, /
Eyes ° Neg  _Lids/Extemal - Bilateral Normal. Conjunctiva - Bilateral Normal, Pupil ~
. ' . Bilaterat Equal and Reactive to Light. cts
NMT.. _ Neg Oral Mucosa - Moist, No Cyanosis, No Palior. Teeth.and Gums-Normel,
Neck os Neg Inspection - Normal. Palpation - Normal, Thyroid - No Masses. Neck :
. ROM - Normal. lo
Neck- | _ Pos AVP - Less than 8. . - ;
Resp . Neg Respirations - Nonlabored. Breath Sounds ~- Clear Throughout. Rales - i
“ .. . , . Absent Wheezes - Absent :
Resp - ‘Note ~ = No accessory muscule use is noted , ;
Cardiag Neg Rhythm - Regular. Patpation - PMI Normal. Heart Sounds - $1 Normal, i
, $2 Nérmal. Murmurs - None, . mE i
Vase ° Neg Carotid ~ No Bruits Noted: Radial - Bilateral Normal Pulse. Posterior - :
i, ; ' Tibial - Bilateral Normal Pulse. Dorsalts Pedis - Bilateral Narmal Pulse. . , :
Vase Note. Venous skin changes. , ee :
"Abd , Neg’ Tenderness - None. Palpation’- Sof No Guarding. Hepatomegaly - :
a Absent. Splenomagaly - Absent. Masses - Absent. a j
GU - ' Neg CVA Tendemess - Absent. Hernia - Absent. , a
Skin Neg’ Venous Stasis Ulcer - Absent. Rashes - Absent. Psoriasis - Absent.
M/S ** Neg - Gait - Normal, Able to Exercise - Yes. Amputation - None. i
EXT -  , Neg Clubbing - Absent. Cyanosis - Absent. Stasis Dermatitis - None. :
' Discoloration - None. Ischemic Ulcers - Absent. Upper Extremity Edema .
. Oo - Absent.” . .
EXT, . ’ Pos  ° — Varicosities - Present Both Legs. Lower Extremity Edema - Mild. :
OT Note Chronic. venous insufficiency” Se
Neuro’, - «Neg Level of Consciousness - Alert. Hemiparesis - Absent. Weakness -:None, :

Facial Droop - Absent, Aphasia = Absent. DTR - Bilateral Normal. .
ey ae Cranial Nerves - 2 -12 Intact,
Psych Neg , Orientation - Oriented to Time, Person, Place. Mood - Appropriate.
IMPRESSION AND PLAN . | / . . | |
01. Symptomatic varicose veins of both lower extremities (183.893): Bilateral LE varicose velns. Symptomatic,
Both legs.ache and his veins bulge. The right leg Is the worst. Will need to get a biloteral venous Insufficiency
study, Would look to set up a RF ablation once ultrasound is done. epee “3

. - , wo “% 7. a so ")

Alsop, Chrispher 1245452 02/21/1968 11/08/2016 02:42 PM Page: 3/4 Dn may

Sys

 
 

 

Fam a

on ‘Case 3:17-cv-02307-RDM Document 1 Filed 12/t51¢7—Page-25-o+5+~-meemee
NOVSTESEOTE MOK T1:08 AM” HEART & VASC.CLINIC” FAX Ho. 821 9959 PON

J
rot

1, Tarah Williamson RN, am scribing for and in the presence of Dr. Frank Oaks. L Dr. Frank Oats, parsonally

performed the services described in this documentation, scribed by Tarah Willlamson RN In my presence, and it Is
both accurate and complete. mo - :

02. Chronic venous insufficiency (187.2): Bilateral LE varicose veins. See above assessment.

I, Tarah Williamson RN, am scribing for and in the prasence of Dr. Frank Oaks: L Or, Frank Oaks, personaily performed the

services described in this documentation, scribed by Tarah Williamson RN in my presence, and it is both accurate and «-!-"0-:
‘ complete. _ ! ae .

Pb,

ORDERS: my
VUS Leg Venous Bil Bilateral leg

4. Franklin Oaks Jr. D.O,MHAFACOS. 11/10/2016
~ Oocument generated by: Jay Oaks, DO 11/1 0/2016

" Electronically signed by J. Franklin Ooks Jr. D.O,MHAEACOS on 11/1 0/2016 03°03 PM

| B. Zalno, PA-C
- FCC Allenwood i
NOV 16 2016

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Alsop, Chrispher 1245452 02/21/1968 11/08/2016 02:42 PM Page: 4/4 ~

 
Case 3:17-cV-02307-RDM Document 1 Filéd 12/15/17 Page 26 of 51

 

_ Bureau of Prisons
Health Services , *

 

 Cosign/Review
Inmate Name: ALSOP, CHRISTOPHER oS oe Reg#  03078-061
Date of Birth: © 02/21/1968 . Sex: Mor Race:- BLACK
Scanned Date: 11/17/2016 10:23EST ~" . a ; —_ Facility: ALM

 

' Reviewed by Cullen, Thomas D.O. on 11/17/2016 13:17.

te 7 Fr os

._ Bureau of Prisons - ALM:

 
 

 

 

Case 3!17-cv-02307-RDM | Document 1 Riled 12/15/17 Page-276F64—

weyeot? 41700383 AM . Le ’ Guequenanne Heath Far: 2 - . . ‘mage for
ee | a “04678 O64.
~ J. Franklin Oaks Jr, 0.0, MHA FACOS Loe
SPS Vascular SurgIC pe Susquehanna Health
740 High St Suite 2001 .

Williamsport, PA: 177013102 °

™ _Phone: (970)321-2805 Fax: (570)321-2806

PAST MEDICAL/SURGICAL HISTORY (Detailea)

Alsop, Christopher 1245452 02/21/1968 01/17/2017 01:49 PM Page: 1/4

 

 

> ‘Patient: Christopher Alsop
“Date of Birth: 02/21/1968 |
‘Date: 01/17/2017 01:49 PM
Visit Type: 1” Return Office Visit
Account #: 1245452 © . ,
a. Soarian Enc#: No Soarian Encounter ID ate
: ~ perrie “ :
° ° : — i roc nTenwoos :
REASON FOR VISIT: ° BO - san 25 201

This 48 year old male: presents for follow u up of BLE varicose veins.

CHIEF COMPLAINT? Follow Up of BLE varicose vein, genera

HISTORY OF PRESENT ILLNESS:
1. Follow Up of BLE varicose veins.

4

. Christopher has returned today for results of his bilateral lower extremity varicose veins. His tight leg is thew worst. He c/o
‘itching and buming at his calf. His biggest complaint today i is toe pain. It's been getting worse the last few months. He's

worn compression Stockings 20- "30mmg for'3 months. He has no history of DVT or trauma.*
2. general °

He has had no chest discomfort suggestive of ischemia, The patient denies orthopnea, PND, DOE or edema. Mr. Alsop i

has not had palpitations, syncope or near. syncope. He denies claudication. There is no discoloration or ulceration of the | ~

_ lower extremities. He has had no TIA or stroke-like symptoms, The patient has no symptoms attributable to valvular heart

disease. -

CURRENT MEDICATIONS . .

Medication te Sig Description

acetaminophen 325 mg capsule ‘pr 7

caldum polycarbophil 625 mg tablet _. twice daily
docusate sodium 100 mg capsule take 1 capsule by oral route every day at bedtime as needed
ibuprofen 800 mg tablet . "_- take 1 tablet by oral route 3 times every day with food
ALLERGIES/INTOLERANCES: a

Ingredient Reaction Medication Name Comment

NO'KNOWN | - . i oo

ALLERGIES 4 yo

NoneNO KNOWN ALLERGIES. Sd

t

 
waw2oT 1006 AM . Gusquenenns Heath Pas:

Disease/disorder a Onset Date | Management Date

, Bowel resection :
- Liver surgery age 5: ,

Hemorrholds ;

Significant hearing loss-uses

hearing aid

Varicose veins bilateral LE. uO

FAMILY HISTORY (Dewiled)  - .

SOCIAL HISTORY (Detailed}
Tobacco use reviewed.
Preferred language is English.

MARITAL STATUS/FAMILY/SOCIAL SUPPORT
Currently unknown.
Smoking status: Never smoker.

SMOKING STATUS |

BLOOD PRESSURE +
Time ~ BP mm/Kg Position "Side Site _ Method
2:52PM 124/60 ~ sitting _ tight — arm manual

TEMPERATURE/PULSE/RESPIRATION
Time Temp F Temp C - Temp Site Pulse/min Pattern

Alsop, Christopher 1245452 02/21/1968 01/17/2017 01:49 PM Page: 2/4

Case 3:17- “CV: 02307- RDM. Document 1 Filed 12/15/17 Page 28-o0f ot

af

Paoe lors

_ Comments

-B, Zalito, PA-C
FCC Allenwood

JAN 25 2017

Use Status Type: Smoking Status Usage Per Day _ Reviewed ;
nofnever Never smoker ~ 01/17/2017 01:49 PM
. . © } . :
REVIEW OF SYSTEMS
System Reviewed Review Result Review Findings
Resp Neq. . "Wheezing, Hemoptysis, Dyspnea
GI: Neg. Constipation, Diarrhea, Hematochezia, Abdominal Mass _
Neuro Neg , Facial Droop, Fainting, Speech Changes, Slurred Speech, Paralysis,
, ' » Dizziness, Seizures
Derm Neg ’ . Hyper pigmentation, Blisters, Skin Sores
Endo Neg - - , Cold Intolerance, Heat Intolerance...
GU Neg . Hematuria
Hemat | | Neg '* . Easy Bleeding, E asy Bruising
Const Neg Activity Change, Weakness, Weight Gain, Weighit Loss
ENT - Neg Hearing Loss, Change in Voice
Psych Neg Altered Mental Status
Eyes ‘Neg _Visual Changes, Transient Visual Loss, Double Vision
Vasc ; Pos . Varicose Veins, Leg Swelling
‘Vasc Neg . Pain, Ulcer, Claudication, Edema
Card _ Neg Near Syncope, Chest Pain, Palpitation, Syncope. Chest Pressure
MSS . Neg Muscle Weakness, Back Pain
M/S * ; Pos Joint Stiffness
VITAL SIGNS

_ Cuff Size
* adult

Resp/ min

 
 

 

VWRMEOI? 11205:25 AM

2:52 PM
« MEASURED BY
Time . Measured by

2:52 PM ~ Tarah Williamson; RN,

PHYSICAL EXAM:
Exam '
Const -

Corist
Eyes moa

* NMT
~ Néck

Resp

Resp
Cardiac

Abd’
GU
Skin
M/S
EXT

Neuro .

Psych

IMPRESSION AND PLAN

G1. Venous insufficlency of both lower extremities (187.2); Ultrasound shows bilateral LE GSv reflux, He does have
.some small varicose veins in bilateral lower extremities. He has tried compression stockings 20- -30mmHg for
several months and elevation. He continues with complaints of pain, swelling, itching and burning. He has failed
conservative therapy and would recommend a radiofrequency ablation of bilateral greater saphenous veins. Did
review in detail surgery and post- op plan of care. Within 24 hours of surgery he can return to all activities without

_ Findings

Neg

~~ Pos

Neg ‘

Neg
Neg |

‘Neg

Note °
Neg

Neg

Neg

Neg
Neg
Neg

- Pos
Neg

Neg...

restrictions. Pictures were t taken.

1, Tarah Williamson RN, am scribing for and inthe presence of Dr. Frank Oaks. I, Dr. Frank Oaks, personally
- performed the services described In this documentation, scribed by Tarah Willlamson RN In my presence, and It is

both accurate and complete.

FINAL MEDICATION LIST ’~

Medication

acetaminophen 325 mg capsule |
calcium polycarbophil 625 mg tablet
docusate sodium 100 mg capsule

ibuprofen 800 mg tablet ,

Qusquenenna Meeah Fer:

6 | 14°

Details nS ,
Level of Distress - Awake / Alert. Appearance - Well Developed, Age
Appropriate. |

Nourishment - Obese,

Lids/External - Bilateral: Normal. Conjunctiva - Bilateral Normal. Pupil -
Bilateral Equal and Reactive to Light. ,

Oral Mucosa - Moist, No Cyanasis, No Pallor. Teeth and Gums - Normal.

Inspection - Normal. Neck ROM - Normal.
Respirations - Nonlabored. Breath Sounds - Clear Throughout. Rales -

' Absent. _Wheezes - Absent.

No accessory muscule use is noted
Rhythm - Regular. Palpation - PMI Normal. Heart Sounds - Si Normal,

. 52 Normat. Extra Sounds - None. Murmurs -.None,

Tenderness - None. Palpation - Soft, No Guarding, Hepatamegaly :
Absent. Splenomegaly - Absent. Masses - Absent. ,

“CVA Tendemess - Absent. Hernia - Absent.”
_ Venous Stasis Ulcer - Absent. Rashes - Absent. Psoriasis - Absent.

Gait - Normal. Able to Exercise - Yes. Amputation - None.

“Clubbing - Absent. Cyanosis - Absent. Stasis Dermatitis - None.

Discoloration - -Nane. ischemic Ulcers - Absent. Upper extremity Edema
- Absent. Lower Extremity Edema - Absent.

aricosities - Present Both Legs. . .
Level of Consciousness - Alert. Hemiparesis - Absent. Weakness - None. -

Facial Droop - Absent, _Aphasia - Absent. OTR - Bilateral Normal.
Cranial Nerves - 2-12 Intact. .
Orientation - Oriented to Time, Person, Place. Mood - - Appropriate.

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~ ‘

boo

'_ Sig Description
pm
twice daily
take 1 capsule by oral route every day at bedtime as needed
take 1 tablet by oral route 3 times every day with food

Alsop, Christopher 1245452 92/21/1968 01/37/2017 01:49 PM Page: 3/4 —

B. Zalfo-PA-C
- FCC Allenwood

JAN 25 2017

Case 3:17-cv-02307-RDM Bocument1 - Filed 12/18/27 Page 29 0st a "

Page 4 of

 
 

 

Case 3:17-ev-02307-RDM' Décument 1’ Filed 12/15/17
Bureau of Prisons
. ‘Health Services
~ <3. CosigniReview

Inmate Name: . ALSOP, CHRISTOPHER. re
Date of Birth: 02/21/1968 © Sex: MC. SS
Scanned Date: . 01/27/2017 15:08 EST - Sy “

Reviewed by Cullen, Thomas D.O. on 01/30/2017 08:42. © -

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“Bureau of Prisons - ALM

Page 30 of 51__

Reg#: ° 03078-061 *

‘Race: : BLACK
Facility: . ALM’

 
 

Casé 3:17-cv-02307-RDM Document 1 Filed 12/15/17 Page 1-0f54

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Pepe tors

i. Franklin Oaks Jt. D.OMHAFACOS 01/23/2017
” Document generated by: Jay Oaks, DO 01/22/2017

‘Electronically signed by J. Franklin Oaks dr. D. ©, MHA,FACOS on 01/22/2017 06:04 PM

B. Zaino, PAF
FCC Allenwood | -
JAN 25 2017

sal

Alsop, Christopher’ 1245452 02/21/1968 01/17/2027 01:49 PM Page: 4/4

 
 

 

 

Date Delivered to Inmate: Li: By: :

“Case 3:17-cv-02307-RDM: Décument 1 .Filed-12/15/17 Page 32 of 51 4

oo oo PrW is OAS
we . . October 30, 2003
Attachment A

REQUEST FOR ADMINISTR ATIVE E REMEDY, ATTEMPT AT INFORMAL RESOLUTION |

 

 
   

Staff Name)

_ Bureau of Prisons. Program Statement 1330. 13 requires that‘ ‘An inmate will first presei an issue
of concem informally to staff before an. inmate submits a Request for. Administrative Remedy.”
Also, the staff member must try to resolve the complaint informalty before the inmate will be
given ‘a. BP-229(13) form.

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u Aseseivensescsnninnestensueusuesstadasaetacsursuseousenatensanes
1. Write your complaint in this space, as briefly as possible, including details and facts which -
support your request. a
e Nave fi throhing. an pi but d muy leg: d Qnkle.. I ain
LQ Constant Dain within. LT Wask7r nets worst 77h 5: Swelling 17
Muy onkle to ihe: OM Wee O€ mm didenoséd WIT VER Gr

“a d Obs cha beray

 

 

 

Inmate Name: ish IS p _ Ree. No. oPROIB-Dll Unit Hasa

“Date: \ ,
TTT tLe tiie titi ti etti cet i it ier etter eter

Date Informa! Resolution Submitted to Staff: fa: feds Submitted to:
The unit staff member who has attempted to resolve the matter ‘informally will indicate below the

effor he has:made. ific, butbnef: A, ”
Content OM. LLG T ZH clktjumh of Our

EGLE leg WD Eye LZ Cried cde

 

 

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Respénded to by ce Lig, =: pare 22M: ez hifi
Reviewed biy Unit Manager: : Date: [- [-&.

sae caesencesneanuennnns eens eae TORO Gar TORE OCC aa IK i aOR HE Ee
Date BP-229(.13) Delivered EG {I~ 1d- Dol Bativered by:

Yeap. Ths Lf pdr phedidiy, # olf
Me Prididt dig! ha povie. Yo kya creke. ca

COR. L McDannold, RN
oe a fit « ficve wn 205 (Tend :

   

eee

   

 

Cyn of pe Py ie Worth, TA

 
Case 3:17-cv-02307-RDM Document 1 Filed 12/15/17 Page 33 of 51

a a EW 1330.13(EI
- October 30, 2003
Altachment A>

 

‘Bureau of Prisons Program Statement, 1330. 13 requires that “An inmate will first present an issue
of concenr informally to’ staff before an immate submits a Request for Administrative. Remedy.”

Also; thé staff memiber raust try to resolve the complaint informally before the inmate will be
given a BP- 229(13) fomn.

ARR Re RE EEE RE RR IEE RR EEE AEE RIE ER EE EE

1. Write your complaint in this space, as briefly as possible, including details and facts which
support your request.
I was taken to the hospital. several: months ago for evaluation of my leg. I
was told that I would“need an operation but I was given no“information about

h pe Srosedure waa, what the complications might be, what result I could

w at t . -
expect. Medical records cannot find any record of this.

2.’ What acon do you wish {o be taken to correct the situation?

\. the hospital medical record and the doctor's. consultation:

i J 2. Written instructiona what procedure is recommended, what is the

: success cate and what are the risks and complications.

( 7 3. What have you done to informally resolve this matter? To whom have you spoken?

\ J have gone to medical records that cannot find any information
from the hospital consultant. .

 

Inmaie Name: Christopher. Alsop Reg. No.;03078-061 Unit: Houston
Date: Oct... 5, ,2015 on 0 ce,
PTE CEE CEE SEI ON OES eS ;
Date Informal Resolution Submitted to Staff: \0- 8- 20/5 Submitted ta: BBY Oooh
The unit staff member who has attempted to résolve the matter informally will indicate below the
- efforts he has made. Be specifi Yby ~
ft Were Ebola Late £4 She fe Cghott as d ef
TAete. “ Be TEL Deni cndaB 7 Larger ay Jas

 

 

 

 

 

, | 7 rent to by: SES SEE be faul eZ" oy, oo me . l

Date: L2-— F- wo

Reviewed by Unit Manager: ZZ.

sersnannennenenaas naa Tere esech SO TOR OR aon wa Rare ea +e eee

Date BP-229(13) Dpterée (6 inmate: De 2M: AMS Bees by: Balok | :
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Sur sy ove oa thei uv 1 er comcerny, Heega coR
ot Sucgeun A An FCI F

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Case 3: 17-cv- 02307- RDM: Document 1 Filed 12/15/17 Page 34 of 51.
Se FTAV 1330. 13(E)
Po _ October 30, 2003
| oo Attachment A

REQ VEST FOR ADMINISTR ATIVE REMEDY. ATTEMPT. Ar INFORMAL RESOLUTION

Date Delivered to Inmate: eels / ;

Bureau of Prisons Program Statement 1330. 13 requires that "An inmate will first present an issue
of concern informaily to staff before an inmate submits a Request for Admunistrative Remedy.”
Also, the staff member must try to resolve the complaint informally before the inmate will be
given a BP-229(13) form. . .

 

evtennesteeseecehensntnstnnesenetennesenevseteeenenseenucnens

_ 1. White your complaint in this space, as briefly as possible, including details and facts which
support your request. :

 
  
    

‘to_Constant Pain, vl. B Z war : fe LS Swelling i
my f ankle ty ulhere I runt wear shoes. Im chips with Vehows
Re! Hux. ard Obstr action. .

2. What action do nov wish to be taken ‘to ‘correct the situation?’

Z_wish fe tho £B.).P +, henoc the Doctors Ceeam mpadetims
anc aurcgically CeQair My Problem .

 

3. What have you done t to informally resolve this matter? To whom have you spoken?
Aone to_Sick Cad. T Pave —Roken
; Doctors,

Inmate Name: Cai Iso D _ Reg No.: 030 7B. Ole| Unit: HouStne

Date:
seeesTitaHuNs TF Eh aniseenusssesunceestanesunecencinusanesecsedeces

Date Informal Resolution Submitted to Staff: | Submitted to:

 
 

 

_ The unit staff member who has attempted to resolve the matter informally will indicate below the
efforts he has made. Be specific, but brief: ,

 

a

 

 

Responded to by: ee Date:

| Reviewed by Unit Manager: : Date:

oe ae FEISS ILIA IOIOI Ea A ra eae a RAE He ok oh ae a a 2 fe cok oak ae ok TR ROR OR EH Ha ®

| Date BP-229(13) Delivered to Inmate: Delivered by:

 

 
a: ” . -

“Case 3:17-cv- 02807- RDM Document 1 Filed 1205147 Page 35 pi 51

 

 

 

 

 

 

 

BP-$148. 055 INMATE REQUEST. TO STAFF CDFRM ° aA eo Yo ‘y +
. SEP 38 . .
U.S. DEPARTMENT OF JUSTICE | £ yh bik o / “FEDERAL BUREAU OF PRISONS
TO: a e and Title, of Staff” Member) , —, | DATE:" ao apf
is 2D Fiends Ptedeol ob Ro

FROM: a REGISTER NO.

Cnr sb ether WP | 0388-0)

WORK ASSIGNMENT: - UNIT: ~

oe Sh, oe A

 

 

SUBJECT: "(Briefly state your, “question or concern and the solution you are requesting.
(Continue on back; if necessary. Your failure to be specific may result in no action. being
taken. If necessary, you will be interviewed, in order to successfully respond to your
request . }

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- DISPOSITION: ae Se a - 7 -
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f lL . . . Lo
OL Achaea WAL oe
Signature Staff Member _ \ Date -
f Cot fil if iad (Au 10: lie

Record Copy > Filé; Copy Somate . This form replacés BP-148.070 dated Oct 86
{This - form may be replicated via WP) .- and BP-S148.070 APR 94

 

 
 

Case 8: 17- cv. 02307- RDM Document 1 Filed 12/15/17 Page 36 of 51

a “ALM 1330.13F
| : —— CO ° Attachment 1

Federal Correctional Institution
.. Allenwood,. Pennsylvania

ADMINISTRATIVE, REMEDY ‘PROCEDURE FOR INMATES
INF'ORMAR -RESOLUTION. FORM ;

NOTE TO INMATE: ‘You. are advised that prior to “receiving and filing a
Request for Administrative Remedy Form BP-9 (BP~229(13)}, you must
ordinarily attempt. to informally. resolve your complaint “through your
Correctional Counselor. - Briefly ‘state ONE complaint below and list what
efforts you have made..to resolve your complaint informally and state the

names of staff

 
 
 
 
   

‘Issued By: _of Correctional Counselor)
Date Issued

. ENMATE! Ss COMMENTS :

“ular Vv eing Tam j (A constant

How both oF ig arr .
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Jie, Complaint:

SS Catew Twn 2 Fal liners

  

 

 

 

 

QOL SEO Bok Diy Chest Ghat putts
2. Efforts yor have, made to, informally ‘resolve; TL anne 2 (eek lA apne
0 SCE Gall Xt Wons Sopken to Medusa SF Wich. Ewe BoP
to R octeC to he ein Clos 9 rip pig
Befre TF fall ona hurt mosele :
3.Names of staff you contacted: My LA LZ. Zao.

 

 

Date Returned to Correctional Counselor: “alli

Chasetmpher Alsee | 13018 -ob | PT GSB
inmate' Signature " Reg. Number . Date ve

‘CORRECTIONAL COUNSELOR ' S COMMENTS : ‘ _ hoot . | ,
- 1. se nace informa eae" staff contacted: Se alloted _

. Date. BP-9' Issued: .

 

 

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t
Case 3:17-Cv-02307-RDM Document’1 Filed 12/15/17 Page 37 of 51

. ALSOP, Christopher
Reg. No. 03078-0611
Unit: DO3- 2051
Page 1

 

This is in response to your Request for an Informal Resolution
received on September 19, 2016, wherein you state you have varicose ~
veins. and wish to have your veins stripped by a vascular surgeon.

A thorough review of your medical file was completed on bo
September 19, 2016. On September 2, 2016, you received an evaluation
by the Physician Assistant (PA). This examination was based upon your

‘lower right leg pain-concerns that-you-have had for years. You advised’

the PA that your prior institution recommended vein stripping by a
vascular surgeon along with wearing compression stockings daily. The
PA informed you that given you are at a new institution, you would
have to be evaluated by our Vascular Surgeon and she did submit. this ©
’ future appointment, with the specialist.

The referral to a Vascular. Specialist was reviewed and approved by
the Utilization Review Committee on September 8, 2016. You were

notified of this decision via TruLink system. Until our Vascular
Surgeon evaluates ‘you a determination of vein stripping cannot be
made. . no ‘

Therefore your ‘request cannot be realistically addressed until this
evaluation. If you-have.further questions, discuss’ this with the PA
making, rounds in the. Special Housing Unit.

Digitally signed by JAMES POTOPE
. --DN: c=US, o=U.S. Government, ou=Dept of Justice, ouxBOP, .
_ Cn JAMES POTOPE, 0.9.2342, 19200300. 100. 1.1=15001002784333
Date: 2016.09.19 15: 3B: 27 0400'
J. Potope, HSA co . . «> Date
USP Allenwood . “

 

 

 
oy. Case SL Tow 823Q7- RDM Bocunient 1 Filed. 42/15/17
oy, 8. DEMARIMEYT OF JUSTICE —

e 38 of 51 :

a EES “REQUEST FOR AD INSTRATIVEREMEDY . /2
Pipes eau’ ‘f Prisons“. 1 ‘ . : ot ,
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Sn ee eRe ee re Det a asks iaceehear aici a a Monon a

Type or use ball-point pen. if attachments are needed, submit four copics. Additional in structions on reverse.

my From: m: Alsop Christopher. | 030 78° 0el Houstm Fort Worth rot
LAST'NAME, FIRST, MIDDLE INITIAL ..

REG. NOw UNIT
Part A-INMATE REQUEST |

WIK t T Lih h

~ INSTITUTION

TL Ws notil Cred lo/z7/is: of Medic Consult By Vaseula ut Swocgery. Hour ev, LZ wes
Seen by Cun) putsidé doctuy on n/a who prescribed ML Media tny aad fe Cornmyndé

Surgery. Nowever, the ailment: 1s getting Worser by the day Ath. anole
Na dical emergency. Combined with Fhis is Jegenecating Aus ath.
Im looking  0- Fesslve Aw” Health Camdi tions. Dlevs look indy ins
Matter ond let Me. Kno What My lest optiais acc dnd also wien iL
Should EX ACE + GA answer flow ‘the Region: Ol Madwcat Stuf
| Thank YM sie 7 . .

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DATE 7 ,

; tot, - SIGNATURE OF REQUESTER)
"Part B- RESPONSE °°.” a ce Pt

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DATE Tye ee an

“27

: WARDEN OR REGIONAL DIRECTOR
f dissatisfie ‘ed with this response, you may appeat to the Regional Director. ‘Your rr appeal must be received it in the Regional Office within 20 calendar da

AD
_ + SECOND cory: RETURN TO INMATE oe .. CASE NUMBER: _{- a

  

 

 

 

 

; eo SS Be “CASE NUMBER; . !
Part C- RECEIPT | re . : ne ; ;
_ Remrn to: © is Le a : —
oo -. LAST NAME, FIRST, MIDDLE INITIAL’ = REG.NO. .  - - UNIT INSTITUTION -
SUBJECT: : A . mht, poe. .
. DATE , me “RECIPIENT'S SIGNATURE (STAFF MEMBER) ‘-
USPLVN = ce

"0 BP=229(13)
_ Previous éditlons not usable po : . APRIL 1982

 

    

  
~ Caise-8:17-cv-02307-RDM | Docunient’t Filed 12/15/17 Page 39 of 541

"ALSOP; Christopher ~~ REG.NO.03078061° FILED: 1-21-2016 - -

REMEDY NO. 849175-Fl.. _ PART B-RESPONSE

a

This is in résponse to your Request for Administrative Remedy, dated January 13, 2016, in

which you indicate during a consiltation'on November 9, 2015, a contract vascular surgeon

. Tecommended surgery for varicose veins which are located on your leg and ankle. You indicate

- ‘this chronic issue is progressively getting worse. You are requesting to resolve this issue with
the ‘varicose veins. , .

A review: of § your medical record reveals you were » evaluated by a contract vascular surgeon on
November:9, 2015. At that time, the recommendation was made for you to have a venous
ultrasound of-your-right lower extremity, not surgery as you indicate. Records indicate a
vascular surgery consultation was requested by a mid- level practitioner (MLP). on

" November 25, 2015, and was approved by the Utilization Review Committee on

' November 27, 2015. A follow-up consultation has been scheduled fora venous s ultrasound of —
your right leg and ankle as. recommended. .

You are receiving medical treatment in accordance with community standards and will continue

tobe monitored and treated by Health Services staff for your health-related conditions. Based on |

the above, this’ Tesponse is. provided for’ informational purpose only,

If you are not satisfied with this responsé, you may appeal to the Regional Director at Bureau of

. Prisons, South Central Region, 344 Marine Forces Drive, Grand Prairie, Texas, 75051, via a BP-

230¢13). Your appeal must ‘be received i in n the South Central. Regional Office within 20 days of
the date of this response. So,

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Document 1 Filed 12/15/17 Page 40 of 51
~ Regional Administrative Remedy Appeal

 
  
  

US. Dépatiment of Justice

‘ Federal Bureau of Prisons

I A a Et CU eT

 
  

Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted
with this appeal.

From: Alsop, Christopher 03078-0641 Unit 4A FCT ALM |

‘LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
Part - REASON FOR A\ APPEAL Lorementioned appeal is made in the regards of the unnecessary manner

dequate m care and prognosis for mannerisms of surgical pretenses to be done in

the “discomfort of protruding and adverse varicose veins that are located within the leg and
ankle arena. Further when trying to have a proper evaluation done and. the medical diagnosis
‘of recommendations that were preceived by Vascular Specialist Ramesh Paladuqu M.D. on or
about 2-1-16 in which surgery was suggested so that I would not have endure further pain
and discomfort in when walking throughout the series of the current institution that I am
in FCI Allenwood. This mannerism of medical prognosis took place while I was within the Fort
Worth South Central Regional area yet I have had no further remote care or evaluation done
in the condition of these painful and discomforting varicose veins and ankle condition ‘that
I have described in the attachment of materials-herewith (BP-8, BP-9 and BP-10 respectively
from the South Central Region) However, I am seeking a formation of medical care while in
my current institution and at the date of this appeal I haven't remotely been given the pro-
per procedural medical treatment to address my situation of the varicose veins and or to
be evaluated by a Vascular Surgeon andor Specialist that can better inform the medical
department of what is necessary for me to properly function within my current arena of
institution so that I will not have to worry about further adverse mannerisms of these

stated varicose veing being: harmful and or indepth fr m treatment in the near future.
. June 8,2016 — (' Tuidagnen CS
DATE SIGNATURE OF REQWESTER

Part B - RESPONSE

 

 

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DATE Se * REGIONAL DIRECTOR

 

If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received j in the General Counsel's Office within 30 calendar
days of the date of this response. - 9
ORIGINAL: RETURN TO INMATE : CASE NUMBER: -
Part C - RECEIPT
, CASE NUMBER:
» Retum to: : - i.
‘ LAST NAME, FIRST, MIDDLE INITIAL REG. NO, wo UNIT - INSTITUTION
SUBJECT: _— : ,

 

 

 

DATE ~ @ SIGNATURE, RECIPIENT OF REGIONAL APPEAL

BP-230(13)

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~ Case 3:17-cv-02307-RDM.- Document 1 Filed 12/15/17 Page 41 of 51

“ALSOP, Christopher
Reg. No. 03078-061.
Appeal No. 849175-R1
Page One .

' Part B - Responsé

You appeal the response from the Warden at FCI Fort Worth and ‘contend
you-are not receiving proper care for your varicose veins of your
legs. You claim surgery was suggested by an outside doctor. You
request to be evaluated by a Vascular Surgeon. ;

A review of your appeal reveals the Warden adequately addressed
your concerns in his response. According to your Bureau Electronic
Medical Record (BEMR), you were evaluated by an outside specialist
on February 2, 2016. Suggestions for treatment were provided,
including the less invasive treatment using compression stockings.
On April 21, 2016, you were transferred to FCI Allenwood. On
April 28, 2016, you were evaluated by Health Services staff and
it was determined that stockings would be initiated. According
to your medical record you are being evaluated and treated in
accordance with Program Statement 6031.04, Patient Care.’

Accordingly, your appeal is denied..

If you are dissatisfied with this response, you may appeal to the
General Counsel, Federal Bureau of Prisons. Your appeal must be
received in the Administrative Remedy Section, Office of General
Counsel, Federal Bureau of Prisons, 320 First Street, N.W.,

' Washington, D.C. 20534, within 30 calendar days « of t e of this

response.

 
     
  

A: D—-CARVAJAL
Regtonal Director

  

Date: July 13, 2016

 
 

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_ Federal Bureau of Prisons .

- PartC - RECEIPT -

 

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Case 3: 174 CV- 02307. ROM Dosiiment 4. Filed 12/15/17 Page azof51

| -US.fiépartiment of Justice a , Central Office Ad““jnistrative Remedy Appeal

      

    

   

     

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Type or use ball point pen. If aluachments are needed; submit four copies, One ed each of the gempleied BP-229(3} and BP-230(13), including any attach-
ments must be submitted with. this appeal. oe . .

From: ALSOP, .CHRISTOEHER- * 03078-061 4p PCC ALM
, . LAST NAME, FIRST, MIDDLE INITIAL ; t REG. NO. : . UNIT, 0 INSTITUTION

Part A- REASON FOR APPEAL a¢orementioned appeal is “made in the discrepancies of

medical treatment not being adhered to to varicose viens that have become
extremely painful. and. unbearable to my daily functioning and walking while

in this institution. T have repeatedly brought this issue before the medical -
department herte within»FCI Allenwood and have been ignored, whereas the
-level and decorum of. medical professionalism is null and unprofessional to
the needs of patients. as.myself with severe varicose viens and discomfort
due ta the undisrupted manners of medical protocols not being followed within
the structure of medical care. rT am left with the need to go through the
administrative. process to try and seek recourse of proper medical evaluation
and treatment that is due to-me.in these matters [See attachment of BP-10.

and other. materials herewith]. ‘Aforementioned - matter has been ignored for
such a period of time that’ it is:adverse to my health, life, limb and liberty
as a patient. that, is in need.of medical necessity of. corbective surgery or
enhanced surgery to clarify these issues with my leg arena. I am in pain ,
‘and have constant discomfort as I try and functionally walk to and from differer
arenas of this ‘institution and for this matter I- ask that a proper and ade-

 

 

. quate srevigyebe alloted, so that I may recieve. FO er medical treatment.
- "DATE - Los a ; " 7 Siouatine SPREQUESTER

  

Part B - RESPONSE - - oo

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AUG 15 2016

  
  

  
   

Administrative Remedy Section
‘ Federal Bureau of Prisons

 
    

  

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CASE NUMBER:

 

Return to: oO - > _
LAST NAME, FIRST, MIDDLE INITIAL j Ss. 30 REGNO. 2° . UNIT oo, INSTITUTION

 

SUBJECT: '_

 

 

"DATE ”C~— tN t*~<«i‘ SC SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL .
a) 7 a . roo BP.231(13)
L met ‘ . , . JUNE 2002

ORIGINAL: RETURN TO INMATE _ a a 7 “CASE NUMBER: 419 Te

 

UPN EVN PRINTED ON RECYCLE
 

Case 3:17- “CV 02807- RDM 1 Betting AE ine 2it7 Page 43 of. er

 

‘complaint’ continued:
I was ‘seen’ by an outside ‘Doctor Name Drs Baruti, .on 2-1-15. on 2-24-
15, i was’ advised by. Me? ‘Baruth, “i, needed my vein closed’ and vein

stripping. ‘The Bureau of (Prisons. Health, Services Clinical Encounter

i

Administative note: is’ attached with, this BP- 11, “stating:

"seen by podiatry, on: 2- 24- 15, requests evaluation by: Dermatology
for further opinions” “and recommendations, Please: schedule accordingly.

However. no follow up “has been, made since my ‘oransfer .

_to the AlLenwood For- complex; please help.

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- . Case 3:17-cv-02307-RDM. Document 1. Filed 12/15/17 Page 44 of 51

Administrative Remedy No. 849175-A2
Part B, - Response’ : ;

_e

-This is in response to your Central. Office Administrative Remedy
Appeal wherein you allege you are not provided with proper ~
treatment for varicose: veins: For relief, you request proper
medical treatment. Be

We -have reviewed documentation relevant to your appeal and,
-based on our: findings, concur with the manner in which the
Warden and Regional Director responded to your.concerns at the
time of your Request for Administrative Remedy and subsequent
appeal. Our succeeding review reveals a consultation request
for evaluation by a vascular surgeon was approved by the
institution Utilization Review Committee (URC) on September 8,
2016, and will.be. scheduled in the near ‘future. There is no
evidence to suggest you. have not been provided with proper
‘treatment for varicose veins. .

The record reflects you have received medical care and treatment
in accordance with evidence based standard of care and within
the scope of services of the Federal Bureau of Prisons.. You are
encouraged to comply with proposed medical treatment so Health
Services can continue to provide essential care and to contact
medical personnel through routine, sick call procedures should

your condition change.

Considering the foregoing, this: ‘response is provided for
informational /purposes only.

ag biel Ae
Date _ oo Ian Connors, Administrator
vO National Inmate epee D

 
 

 

 

Case 3: 17- -cv- 02307: RDM Document, 1 Filed 12/15/17 Page 45 of 51.
Me a .
Bureau’ ‘of Prisons

sHeaith Services:

| oO . " iMedical Duty Status
Reg #: 03078-061 © | . ee. Inmate Name: ALSOP, CHRISTOPHER

 

       
 

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X pillline _X treatments Exp. Date: - 41/09/2017

  
  

Housing: sta Status#
_X confined to the fiving a cua Slecbt

 

   

__ on complete bed rest 2 = *. ‘bathroom om privileges only . Exp. Date:
X cell: _ cellon frst ° ® single cell “X lower bunk ___ airborne infection isolation Exp. Date:
X other: MAY WEAR’S ‘SORT SHOES _ ol _ Exp. Date, %

 

   

   
 
  

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-X all sports, : : Esp ‘até:
ght : __upper body oer body , Nes be ‘Date:
¢ diovascular exercise: __Tunning __ jogging _walking __ softball - Exp. ‘Date:
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NO CONTACT SPORTS, NO WEIGHT LIFTING, NO RUNNING, Ds, “Exp, Date:
JOGGING, OR JUMPING.
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End Date Return Date

 

 

     

 
  
    
  
  
 
 

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Orthotics , 03/10/2014

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Restriction
Medical Idle

No Upper Bunk -

No Work Around Potentially Dangerous Machinery
No Work in High Noise Area

No Work Requiring Safety Shoes

 

  

Expiration Date
11/09/2017

Partial Hearing Loss

Comments: N/A |

denerated 11/06/2017 11:37 by. Gore, Catherine FNP/BC Page 1 of2

 

 
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“Case 3: Ay -CV- 02307- ‘RDM: , Document d, Filed 12/15/17 ‘Page 46 of 51 a

 

 

 

  

7, ' ti *y
Reg #: .03078-061 inmate hang ALSOP, CHRISTOPHER
. Gore, Catherine FNR/BC . 41/06/2017
' Health Services Staff Ba "3 Date ~ -,
Inmate Name:— ALSOP, CHRISTOPHER . Reg #: 03078-061 Quarters: Lot

 

 

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ALL EXPIRA TION DATES ARE AT 724° 90.

    

 

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snerated 11/06/2017 11:37 by Gore, Catherine FNP/BC Page 2 of2

 

 
 

 

 

Case 3°17-cv- 02307- RDM Document 1 Filed 12/15/17 Page a7 of 51

StatRad Exam Requisition =: Oo, . Page lof 2

 

LSCI Allenwood ALF . oot

Patient: ALSOP, CHRISTOPHER (Mae . ‘ DOB: ' « 02/21/68
Register#: 03078-061 oa -  . Age: 49°
Date: 11/07/17 07:19 © oF - . Status: OP
Slicecount: 3 - a oF

_ History: “Ankle pain and “giving out"” an bey eg
Priors: , st ‘ a

“Exams: — FILM RIGHT ANKLE . -
Referring Phy: Catherine Gore FNP-BC -

Ordering Phy:
Ordering Phy #:
Accession Numbers: 202480P274718051

 

Final Report

Exam: FILMRIGHTANKLE =

~ INDICATION: Ankle pain and giving out:

COMPARISON: none , Co
FINDINGS: « * oa ae .
3 viows of the right ankle are obtained. -
No fracture or malalignment.

t

There is mild perlosteal reaction at the medial malleolus mediat cortex surface. Overlying soft tissue ~
swelling is noted. -

No lytic lesion or cortical destruction,
Joint spaces maintained. |

No joint effusion.

Mortise joint is intact. ‘

No calcaneal spurs,

No arthritic changes identified. —_ ot ‘ L Os, t | {]

Remaining solid tissues are unremarkable by radiograph exam, Gort, “exe es
: f mn C. you
IMPRESSION: ne 7 _ userare .
= . . HEALTH SVC
No fracture or matalignment. Ls ALLENWO0D - | s
WHITE DEER, PA 17887

| https://clients.statrad.com/Report/ViewReport message=noLZhtHKcQIMEx-wO2WgAgl!... 11/9/2017

 

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Case 3:17-cv-02307-RDM ‘Document 1 Filed 12/15/17 ‘Page 48 of 51
, ' Bureau of Prisons
a / . .° +. Health Services |
“ Cosign/Review -

'. Inmate Name: - ALSOP, CHRISTOPHER . , ” : soo Reg & -03078-061
Date of Birth: 02/21/1968 or) Sex: UM "Race: BLACK
Scanned Date: 11/14/2017 12:13 EST . ‘ yo Facility:. ALF
Reviewed by Leonard, Daniel MD on 11 11412017 17:46. .

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Clerk Of Court
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Case 3:17-cv-02307-RDM Document1 Filed 12/15/17 Page 51 of 51

 

 

 

     

 

 
